
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-03-018-CV



TEXAS DEPARTMENT OF 	APPELLANT

PUBLIC SAFETY



V.



ERIC SIMMONS	APPELLEE



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FROM 
COUNTY COURT AT LAW OF HOOD COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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We have considered “Appellant’s Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 42.1(d).
 



PER CURIAM	

PANEL D:	CAYCE, C.J.; DAY and LIVINGSTON, JJ.



DELIVERED: April 17, 2003

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




